 Case: 3:09-cr-00020-RAM-RM    Document #: 620   Filed: 03/09/16   Page 1 of 3



                 DISTRICT COURT OF THE VIRGIN ISLANDS
                 DIVISION OF ST. THOMAS AND ST. JOHN

UNITED STATES OF AMERICA, and         )
THE PEOPLE OF THE VIRGIN              )
ISLANDS,                              )
                                      )
                 Plaintiffs,          )    Criminal No. 2009-20
                                      )
                 v.                   )
                                      )
JEROME BLYDEN,                        )
                                      )
                 Defendant.           )
                                      )

ATTORNEYS:

Ronald Sharpe, USA
Kim L. Chisholm, AUSA
United States Attorney’s Office
St. Thomas, VI
     For the United States of America and the People of the
     Virgin Islands,

Jerome Blyden
St. Thomas, VI
     Pro se.

                                   ORDER

GÓMEZ, J.

      Before the Court is Jerome Blyden’s motion to disqualify

the undersigned.

      Jerome Blyden (“Blyden”) argues that the undersigned must

be removed from this case because the undersigned has exceeded

ten years as a judge on the District Court of the Virgin

Islands. Blyden also argues that certain orders issued by the
    Case: 3:09-cr-00020-RAM-RM   Document #: 620   Filed: 03/09/16   Page 2 of 3
United States v. Blyden
Criminal No. 2009-20
Order
Page 2

undersigned more than ten years after the undersigned’s

appointment should be vacated.

       The Revised Organic Act, in pertinent part, provides that

the term of appointment for a judge of the District Court of the

Virgin Islands is “ten years and until their successors are

chosen and qualified, unless sooner removed by the President for

cause.” 48 U.S.C. § 1614(a) (emphasis added). Given that

context, the remedy suggested by Blyden is only possible if one

were to ignore the conjunctive language “and until,” that

immediately follows the words “ten years.”

       Of course, the Court is required to give meaning to each

word in a statute and to read the statute as a whole. Tavarez v.

Klingensmith, 372 F.3d 188, 190 (3d Cir. 2004). It would be

verboten to do otherwise in interpreting a statute. Applying

well-established principles of statutory construction to the

Revised Organic Act, the statutory language is very clear. The

ten-year period referred to in the Revised Organic Act is a

floor for a district judge’s term. It is not a cap. See 18

U.S.C. § 1614(a). In short, the term is not finite. Indeed, only

if a successor is chosen and qualified does the term end.1 48

U.S.C. § 1614(a).


1 Clearly, Congress has the capacity to legislate terms of office for a finite
period, as it has in other contexts. See, e.g., 26 U.S.C. § 7443(e)(“The term
of office of any judge of the Tax Court shall expire 15 years after he takes
 Case: 3:09-cr-00020-RAM-RM    Document #: 620    Filed: 03/09/16   Page 3 of 3
United States v. Blyden
Criminal No. 2009-20
Order
Page 3

      The premises considered; it is hereby

      ORDERED that the motion to disqualify is DENIED.



                                                 S\
                                                      CURTIS V. GÓMEZ
                                                      District Judge




office.”). Exercising its sound discretion, Congress chose not to define a
finite term with respect to judges of the District Court of the Virgin
Islands.
